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                                   TAPATIO FOODS, LLC
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                              9
                                                              UNITED STATES DISTRICT COURT
                             10
                                                            CENTRAL DISTRICT OF CALIFORNIA
                             11
655 North Central Avenue

Glendale, CA 91203-1445




                             12
                                   TAPATIO FOODS, LLC, a California           Case No. 2:17-cv-07532
                             13    Limited Liability Company,
                                                                              COMPLAINT FOR:
Suite 2300




                             14                      Plaintiff,               1. FEDERAL TRADEMARK
                             15             vs.                                  INFRINGEMENT;
                                                                              2. FEDERAL UNFAIR
                             16    ISAAC GRANADOS, an individual,                COMPETITION;
                             17                      Defendant.               3. UNFAIR COMPETITION
                                                                                 UNDER CAL. BUS. CODE
                             18                                                  § 17200; and
                                                                              4. DILUTION
                             19
                             20                                               DEMAND FOR JURY TRIAL
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                             22
                             23             Plaintiff Tapatio Foods, LLC (“Tapatio” or “Plaintiff”) by and through its
                             24    attorneys, asserts this Complaint against Defendant Isaac Granados (“Defendant”)
                             25    as set forth below.
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                              1                                          THE PARTIES
                              2             1.       Plaintiff Tapatio Foods, LLC is a limited liability company
                              3    organized under the laws of California with its principal place of business at
                              4    4685 District Blvd., Vernon, California 90058.
                              5             2.       On information and belief, Defendant Isaac Granados is an
                              6    individual and resident of California with his primary residence in
                              7    Southern California.
                              8                                 JURISDICTION AND VENUE
                              9             3.       This is an action for trademark infringement under the Lanham Act,
                             10    15 U.S.C. § 1114 et seq., unfair competition and dilution under the Lanham Act,
                             11    15 U.S.C. § 1125 et seq., and California state statutory unfair competition under
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                             12    California Business and Professions Code § 17200 et seq.
                             13             4.       This Court has jurisdiction over the subject matter of this lawsuit
Suite 2300




                             14    pursuant to, inter alia, 28 U.S.C. §§ 1331 and 1338(a). The state law claims in
                             15    this action arise from the same common nucleus of operative facts and
                             16    transactions, such that they form part of the same case or controversy and a
                             17    plaintiff would ordinarily be expected to try them all in a single judicial
                             18    proceeding. Accordingly, this Court has supplemental jurisdiction over Tapatio’s
                             19    state law claims pursuant to 28 U.S.C. § 1367.
                             20             5.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(2)
                             21    as the Central District is a judicial district in which a substantial part of the events
                             22    or omissions giving rise to the claim occurred.
                             23                                  FACTUAL BACKGROUND
                             24                        Tapatio’s Ownership and Use of the TAPATIO Marks
                             25             6.       Tapatio is the owner of United States Trademark Registration
                             26    No. 1,228,964 (the “’964 Registration”) for TAPATIO in International Class 030
                             27    for meatless hot sauce. This registration has a registration date of March 1, 1983
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                              1    and a first use in commerce of November 10, 1977.              The mark is now
                              2    incontestable. Attached as Exhibit A is a copy of the ’964 Registration.
                              3             7.       Tapatio is the owner of United States Trademark Registration
                              4    No. 4,997,043 (the “’043 Registration”) for TAPATIO in International Class 030
                              5    for seasonings. This registration has a registration date of July 12, 2016 and a
                              6    first use in commerce of June 2015. Attached as Exhibit B is a copy of the
                              7    ’043 Registration.
                              8             8.       Tapatio is the owner of United States Trademark Registration
                              9    No. 3,837,981 (the “’981 Registration”) for TAPATIO SALSA PICANTE and
                             10    Design in International Class 030 for meatless hot sauce. This registration has a
                             11    registration date of August 24, 2010 and a first use in commerce of February 25,
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                             12    1997. The mark is now incontestable. Attached as Exhibit C is a copy of the
                             13    ’981 Registration.
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                             14             9.       The ’981 registration claims the TAPATIO SALSA PICANTE and
                             15    Design mark as follows:
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                             24             10.      The subject marks of the ’964, ’043, and ’981 Registrations are
                             25    referred to herein as the TAPATIO Marks
                             26             11.      The TAPATIO Marks are the subject of extensive advertising by
                             27    Tapatio, including but not limited to use of the marks on billboards, in magazines,
                             28    on the internet and social media, in commercials, and in tradeshows.

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                              1             12.      Products bearing the TAPATIO Marks are available for sale in
                              2    grocery stores and specialty goods retailers nationwide, and are featured as the
                              3    hot sauce of choice for a number of restaurants.
                              4             13.      The TAPATIO Marks are strong marks that, through Tapatio’s
                              5    continuous use of the marks on high quality meatless hot sauce and other goods,
                              6    have come to acquire significant secondary meaning and goodwill in the mind of
                              7    the consuming public who associate the TAPATIO Marks with Tapatio.
                              8             14.      The TAPATIO Marks are “famous” marks within the meaning of the
                              9    term as defined in the Federal Trademark Dilution Act 15 U.S.C.
                             10    § 1125(c)(2)(A).
                             11                           Defendant’s Infringing TRAPATIO Mark
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                             12             15.      On information and belief, Defendant has begun to manufacture, sell,
                             13    offer for sale, advertise, and/or distribute meatless hot sauce and other related
Suite 2300




                             14    products bearing the mark shown below which is confusingly similar to the
                             15    TAPATIO Marks:
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                             22
                                                                 Infringing TRAPATIO Sombrero Mark
                             23
                             24             16.      On information and belief, the above identified mark (the “Infringing
                             25    Mark”) is advertised to the same class of consumers as goods sold by Tapatio
                             26    under the TAPATIO Marks.
                             27             17.      On information and belief, the Infringing Mark is advertised in the
                             28    same marketing channels as goods sold by Tapatio under the TAPATIO Marks.

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                              1             18.      On information and belief, Defendant uses the word TRAPATIO in
                              2    connection with the sale, advertising, offer for sale, manufacturing and
                              3    distribution of meatless hot sauce.
                              4             19.      TRAPATIO and TAPATIO contain the same letters and sound
                              5    similar, the only difference being the addition of the “R” in TRAPATIO.
                              6             20.      The word TRAPATIO appears on Defendant’s products in a red
                              7    arching font in a confusingly similar manner to Tapatio’s use of TAPATIO.
                              8             21.      On information and belief, in some instances, the font used by
                              9    Defendant for TRAPATIO is similar to the font used by Tapatio for the
                             10    TAPATIO marks.
                             11             22.      The use of the mark TRAPATIO by Defendant is likely to cause
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                             12    confusion as to the source, origin, sponsorship, and/or affiliation of Defendant’s
                             13    goods, on the one hand, and Tapatio’s goods on the other hand.
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                             14             23.      The man in the sombrero, yellow shirt, and red tie that appears in the
                             15    TAPATIO Marks is a Charro.
                             16             24.      On information and belief, the Infringing Mark that Defendant uses
                             17    in connection with the sale, advertising, offer for sale, manufacturing and
                             18    distribution of meatless hot sauce also contains a Charro with an iconic sombrero,
                             19    yellow jacket, and red tie, and is confusingly similar to the Charro used by
                             20    Tapatio on its products.
                             21             25.      On information and belief, the Infringing Mark that Defendant uses
                             22    in connection with the sale, advertising, offer for sale, manufacturing and
                             23    distribution of meatless hot sauce also includes a curled red banner under the
                             24    Charro.
                             25             26.      On information and belief, in some instances, these banners contain
                             26    the exact same text as the red banner in the ’981 Registration.
                             27             27.      The use of the Charro in connection with the word TRAPATIO by
                             28    Defendant is likely to cause confusion as to the source, origin, sponsorship,

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                              1    and/or affiliation of Defendant’s goods, on the one hand, and Tapatio’s goods on
                              2    the other hand.
                              3                       Defendant’s Tarnishment of the TAPATIO Marks
                              4             28.      As is demonstrated below, Defendant claims that one or more of the
                              5    products produced by him, or manufactured on his behalf, that bear the Infringing
                              6    Mark are infused with marijuana (cannabis) and contain THC.
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Suite 2300




                             14             29.      On information and belief, marijuana is a Schedule 1 drug under
                             15    U.S. Federal Law.
                             16             30.      On information and belief, other Schedule 1 drugs include, but are
                             17    not limited to heroin, ecstasy, and LSD.
                             18             31.      On information and belief, the sale, distribution, advertising for sale,
                             19    and consumption of marijuana is illegal under U.S. Federal Law.
                             20             32.      By using a mark that evokes the TAPATIO Marks in conjunction
                             21    with the sale of products that illegally contain a Schedule 1 controlled substance,
                             22    Defendant has tarnished the reputation of the TAPATIO Marks.
                             23                                             COUNT I
                             24                      (Trademark Infringement of a Registered Trademark
                             25                            Under the Lanham Act 15 U.S.C. § 1114)
                             26             33.      Tapatio repeats and realleges the allegations of paragraphs 1 through
                             27    32 of the Complaint as if fully set forth here.
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                              1             34.      The above-cited acts by Defendant constitute infringement of a
                              2    registered trademark in violation of 15 U.S.C. § 1114.
                              3             35.      Tapatio has been damaged by Defendant’s trademark infringement
                              4    by reason of the likelihood that customers, potential customers, businesses,
                              5    retailers, and vendors are likely to be confused as to the source or affiliation,
                              6    sponsorship, or approval of products offered under the TAPATIO Marks and
                              7    Defendant’s Infringing Mark.
                              8             36.      By reason of Defendant’s actions alleged herein, Tapatio has
                              9    suffered and continues to suffer irreparable injury to its goodwill.
                             10             37.      On information and belief, Defendant’s acts of trademark
                             11    infringement have been willful and taken without regard to the established rights
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                             12    of Tapatio.
                             13                                            COUNT II
Suite 2300




                             14               (Unfair Competition Under the Lanham Act 15 U.S.C. § 1125)
                             15             38.      Tapatio repeats and realleges the allegations of paragraphs 1 through
                             16    37 of the Complaint as if fully set forth here.
                             17             39.      The above-cited acts by Defendant constitute unfair competition in
                             18    violation of 15 U.S.C. § 1125.
                             19             40.      Tapatio has been damaged by Defendant’s unfair competition by
                             20    reason of the likelihood that customers, potential customers, businesses, retailers,
                             21    and vendors are likely to be confused as to the source or affiliation, sponsorship,
                             22    or approval of Defendant’s products that bear the Infringing Mark.
                             23             41.      By reason of Defendant’s actions alleged herein, Tapatio has
                             24    suffered and continues to suffer irreparable injury to its goodwill.
                             25             42.      On information and belief, Defendant’s acts of unfair competition
                             26    have been willful and taken without regard to the established rights of Tapatio.
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                              1                                           COUNT III
                              2                   (Unfair Competition Under Cal. Civ. Code § 17200 et seq.)
                              3             43.      Tapatio repeats and realleges the allegations of paragraphs 1 through
                              4    42 of the Complaint as if fully set forth here.
                              5             44.      The above-cited acts by Defendant constitute unfair competition in
                              6    violation of California Civil Code § 17200.
                              7             45.      Tapatio has been damaged by Defendant’s unfair competition by
                              8    reason of the likelihood that customers, potential customers, businesses, retailers,
                              9    and vendors are likely to be confused as to the source or affiliation, sponsorship
                             10    or approval of Defendant’s products that bear the Infringing Mark.
                             11             46.      By reason of Defendant’s actions alleged herein, Tapatio has
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                             12    suffered and continues to suffer irreparable injury to its goodwill.
                             13             47.      On information and belief, Defendant’s acts of unfair competition
Suite 2300




                             14    have been willful and taken without regard to the established rights of Tapatio.
                             15                                           COUNT IV
                             16                       (Dilution by Tarnishment Under The Lanham Act
                             17                                    15 U.S.C. § 1125(c)(2)(C))
                             18             48.      Tapatio repeats and realleges the allegations of paragraphs 1 through
                             19    47 of the Complaint as if fully set forth here.
                             20             49.      The above-cited acts by Defendant constitute dilution by tarnishment
                             21    in violation of the Lanham Act, 15 U.S.C. § 1125(c)(2)(C).
                             22             50.      Tapatio has been damaged by Defendant’s dilution by tarnishment
                             23    by reason that the similarity between the TAPATIO Marks and the Infringing
                             24    Mark harms the reputation of the TAPATIO Marks by virtue of the association of
                             25    the Infringing Mark with marijuana which is a Schedule 1 controlled substance
                             26    and is illegal to sell or use under federal law.
                             27             51.      By reason of Defendant’s actions alleged herein, Tapatio has
                             28    suffered and continues to suffer irreparable injury to its goodwill.

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                              1             52.      On information and belief, Defendant’s acts of dilution by
                              2    tarnishment have been willful and taken without regard to the established rights
                              3    of Tapatio.
                              4             53.      On information and belief, Defendant’s acts have been willful and
                              5    were done with the intention to tarnish the reputation of the TAPATIO Marks.
                              6                                    PRAYER FOR RELIEF
                              7             WHEREFORE, Tapatio prays for:
                              8             1.       A permanent injunction restraining Defendant, any companies or
                              9    business that he owns, its officers, directors, agents, employees, representatives
                             10    and all persons acting in concert with Defendant, from engaging in any further
                             11    trademark infringement, unfair competition and dilution;
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                             12             2.       A monetary award for corrective advertising in an amount to rectify
                             13    all the harm and damages to Tapatio, including, but not limited to, the confusion
Suite 2300




                             14    caused by willful actions of Defendant, including Defendant’s willful trademark
                             15    infringement of the TAPATIO Marks;
                             16             3.       Disgorgement of any profits Defendant enjoyed as a result of the
                             17    infringement of the TAPATIO Marks;
                             18             4.       All damages sustained by Tapatio as a result of Defendant’s
                             19    infringement and unlawful actions;
                             20             5.       Treble damages under the Lanham Act as a result of Defendant’s
                             21    willful trademark infringement and/or dilution by tarnishment;
                             22             6.       Recovery of any gains, profits and advantages Defendant has
                             23    obtained as a result of his unlawful actions;
                             24             7.       An award to Tapatio of its costs in this action, including its
                             25    reasonable attorneys’ fees under at least 17 U.S.C. § 1117, and any other
                             26    applicable authority; and
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                               1             8.       Such other and further relief as the Court deems proper.
                               2
                                    Dated: October 13, 2017                 Respectfully submitted,
                               3
                                                                            LEWIS ROCA ROTHGERBER
                               4                                            CHRISTIE LLP
                               5                                         By /s/Drew Wilson
                                                                           Gary J. Nelson
                               6                                           Anne Wang
                                                                           Drew Wilson
                               7
                                                                          Attorneys for Plaintiff
                               8                                          TAPATIO FOODS, LLC
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                               1                                       JURY DEMAND
                               2             Tapatio demands a jury trial on all issues for which a jury trial is permitted.
                               3
                                    Dated: October 13, 2017                Respectfully submitted,
                               4
                                                                           LEWIS ROCA ROTHGERBER
                               5                                           CHRISTIE LLP
                               6
                                                                       By /s/Drew Wilson
                               7                                         Gary J. Nelson
                                                                         Anne Wang
                               8                                         Drew Wilson
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